     Case 2:24-cv-10546-MWF-BFM       Document 42 Filed 01/30/25    Page 1 of 57 Page ID
      2:24-CV-10546-MWF-BFM                #:1135                           01.30.2025



1     Stephen Chapman
2     7917 Selma Ave 336                                1/30/2025
      Los Angeles CA 90046
3
      619-550-7543                                         RYO

4     StefinChapman@outlook.com
      Plaintiff, In Pro Per
5

6

7
                         UNITED STATES DISTRICT COURT
8
                        CENTRAL DISTRICT OF CALIFORNIA
9

10

11                                              Case No. 2:24-CV-10546-MWF-BFM
       STEPHEN CHAPMAN,
12                                              District Judge: Michael W. Fitzgerald
                         Plaintiff,
13

14          v.                                  DECLARATION OF STEPHEN R.
                                                CHAPMAN IN SUPPORT OF
15     HORACE MANN PROPERTY &                   PLAINTIFF’S MOTION TO
       CASUALTY INSURANCE                       STRIKE ALL FEDERAL
16
                                                ACTIONS & FOR SANCTIONS
       COMPANY, et al.                          AGAINST DEFENSE COUNSEL
17

18
                         Defendant,
19

20

21                                              Date: 01/29/2025
22

23                TO THE HONORABLE COURT:
24
         I, Stephen R. Chapman, declare as follows:
25

26       1. I am the Plaintiff in this matter and make this declaration based on my
27
            personal knowledge of the facts and review of court records, filings, and
28


       DECLARATION OF STEPHEN R. CHAPMAN IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE
              ALL FEDERAL ACTIONS & FOR SANCTIONS AGAINST DEFENSE COUNSEL
                                       PAGE 1 OF 7
     Case 2:24-cv-10546-MWF-BFM      Document 42 Filed 01/30/25      Page 2 of 57 Page ID
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1           communications with opposing counsel. If called as a witness, I could and
2
            would testify competently to the facts stated herein.
3

4

5
         I. JURISDICTIONAL CONFLICT & PROCEDURAL DEFECTS IN
6

7
         REMOVAL

8        A. Notice of Removal Was Defective & Failed to Confer Federal
9
         Jurisdiction
10

11       2. Defendant Horace Mann Property & Casualty Insurance Company filed
12
            a Notice of Removal in federal court on December 6, 2024, claiming that
13

14
            the case had been removed from State Court under 28 U.S.C. § 1441.

15       3. However, opposing counsel failed to file the required Notice of Removal
16
            in the State Court until January 7, 2025, a 31-day delay beyond the
17

18          statutory deadline imposed by 28 U.S.C. § 1446(d).
19
         4. Federal removal is not effective until proper notice is filed with the state
20

21
            court. Courts have consistently held that delays in state notice invalidate

22          removal altogether (Meyer v. Health Mgmt. Assocs., Inc., 841 F. Supp.
23
            2d 1262, 1265 (S.D. Fla. 2012)).
24

25       B. Deliberate Misrepresentation in Opposing Counsel’s Filing
26
         5. In an attempt to conceal the procedural defect, opposing counsel used
27

28
            misleading language in the Notice to State Court of Removal, creating the

       DECLARATION OF STEPHEN R. CHAPMAN IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE
              ALL FEDERAL ACTIONS & FOR SANCTIONS AGAINST DEFENSE COUNSEL
                                       PAGE 2 OF 7
     Case 2:24-cv-10546-MWF-BFM      Document 42 Filed 01/30/25       Page 3 of 57 Page ID
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1           false impression that the removal notice was filed within the statutory
2
            timeframe.
3

4        6. Conflicting dates between the caption page and the signature page
5
            suggest an intentional effort to deceive the reader into believing
6

7
            compliance with 28 U.S.C. § 1446(d).

8              o   (See Exhibit C, Item 2, State Court Caption Page 1): Misleading
9
                   claim of timely compliance.
10

11             o   (See Exhibit C, Item 2, State Court Signature Page 2): Confirms
12
                   actual filing date of January 7, 2025, beyond the 30-day limit.
13

14
         C. Failure to File Supporting Documents in State Court

15       7. The federal Notice of Removal listed three supporting documents that
16
            were required to be filed in State Court:
17

18             o   Declaration of Kristin Ingulsrud
19
               o   Declaration of Matthew Rubin
20

21
               o   Notice of Interested Parties

22       8. A review of the State Court Docket confirms that none of these required
23
            filings were submitted, further invalidating the removal (See Exhibit C,
24

25          Linked State Docket Record).
26
         D. Defense Counsel’s Insistence on Advancing Federal Proceedings
27

28
         Without Jurisdiction

       DECLARATION OF STEPHEN R. CHAPMAN IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE
              ALL FEDERAL ACTIONS & FOR SANCTIONS AGAINST DEFENSE COUNSEL
                                       PAGE 3 OF 7
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1        9. I have repeatedly informed opposing counsel of these jurisdictional defects.
2
         10.Despite this, opposing counsel has continued to advance federal
3

4            proceedings, knowingly wasting judicial resources and causing undue
5
             delay.
6

7
         11.Such conduct constitutes reckless disregard for procedural rules and an

8            abuse of the litigation process (Chambers v. NASCO, Inc., 501 U.S. 32,
9
             46 (1991)).
10

11

12
         II. BASIS FOR SANCTIONS UNDER FRCP RULE 11 & 28 U.S.C. §
13

14
         1447(c)

15       A. Legal Standard for Sanctions
16
         12.Federal Rule of Civil Procedure 11(b)(1)-(3) prohibits attorneys from:
17

18       x   Presenting pleadings for an improper purpose, such as delay or
19
             harassment.
20

21
         x   Knowingly advancing claims or defenses unsupported by law or fact.

22       x   Engaging in conduct that misleads the court or opposing parties.
23
         13.28 U.S.C. § 1447(c) allows courts to impose monetary sanctions,
24

25           including attorney’s fees, when a case is removed in bad faith or without
26
             jurisdiction.
27

28
         B. Opposing Counsel’s Conduct Warrants Sanctions

       DECLARATION OF STEPHEN R. CHAPMAN IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE
              ALL FEDERAL ACTIONS & FOR SANCTIONS AGAINST DEFENSE COUNSEL
                                       PAGE 4 OF 7
     Case 2:24-cv-10546-MWF-BFM        Document 42 Filed 01/30/25      Page 5 of 57 Page ID
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1        14.Opposing counsel intentionally misrepresented compliance with
2
             statutory deadlines, as demonstrated by:
3

4        x   Conflicting dates within their own filing.
5
         x   Filing the state notice over 30 days late.
6

7
         x   Failing to file supporting removal documents in state court.

8        15.Opposing counsel has engaged in a pattern of bad faith litigation tactics,
9
             including:
10

11       x   Ignoring the State Court’s continued jurisdiction.
12
         x   Advancing frivolous federal proceedings despite clear procedural defects.
13

14
         x   Refusing to acknowledge Plaintiff’s good faith efforts to resolve the matter.

15

16
         III. CONCLUSION & RELIEF REQUESTED
17

18       16.Based on the clear procedural violations and bad faith litigation tactics, I
19
             respectfully request that the court:
20

21
         (A) Strike all filings made in federal court as ultra vires (beyond legal

22       authority).
23
         (B) Remand this case to State Court pursuant to 28 U.S.C. § 1447(c).
24

25       (C) Impose monetary sanctions on opposing counsel under FRCP Rule 11.
26
         (D) Issue an order barring any further attempts at removal with prejudice.
27

28


       DECLARATION OF STEPHEN R. CHAPMAN IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE
              ALL FEDERAL ACTIONS & FOR SANCTIONS AGAINST DEFENSE COUNSEL
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1        I declare under penalty of perjury under the laws of the United States of
2
         America that the foregoing is true and correct.
3

4        Executed this 29 day of January, 2025, in Los Angeles, California.
5
         _____________________________________
6        Stephen R. Chapman
7        Plaintiff, In Pro Per
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       DECLARATION OF STEPHEN R. CHAPMAN IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE
              ALL FEDERAL ACTIONS & FOR SANCTIONS AGAINST DEFENSE COUNSEL
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     Case 2:24-cv-10546-MWF-BFM    Document 42 Filed 01/30/25    Page 7 of 57 Page ID
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       DECLARATION OF STEPHEN R. CHAPMAN IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE
              ALL FEDERAL ACTIONS & FOR SANCTIONS AGAINST DEFENSE COUNSEL
                                       PAGE 7 OF 7
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        EXHIBIT A         State Court Ledger & Docket Entries
          Proves no jurisdictional transfer exists as promulgated by the defense.
              State Court Action Pending Motion to be Heard 03/13/2025 (see
Case 2:24-cv-10546-MWF-BFM Document 42 Filed 01/30/25 Page 9 of 57 Page ID
              Motion for Order 01/06/2025)
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                                                  Hearing Date 03/13/2025




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                   Removal is Pending until scheduled Motion is Heard and if the removal is Ordered as Proper




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         EXHIBIT B
             State Court Order scheduling Motion to Strike/Remand hearing.
             Confirmed by the enclosed (see page 1) [state] clerk endorsement.




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          EXHIBIT C
     Demonstrated Cause(s) of Action to Support Order for Sanctions; Notice to State Court of
                         Removal (Filed in State Court - Jan 7, 2025)

  Exhibit C further demonstrates Willful Misrepresentation & Procedural
  Defect:
  - Conflicting dates indicate an unlawful attempt to cure a jurisdictional defect.
  - State court notice was filed 31 days after federal removal, violating 28 U.S.C. Â§
  1446(d).

  See redlined dates in conflict:
        - (See state caption page 1) â€“ Caption misleadingly claims compliance
        with statutory deadline.
        - (See state caption page 2) â€“ Signature date in direct conflict with
        purported compliance,
           confirming the actual filing date beyond the 30-day limit.
        - (See exhibit page 4) â€“ [Banner] timestamp confirms the date filed in
        federal court (12/06/2024).

  Exh., C.2: Additional Procedural Violations:
  - Failure to file concurrent substantive documents in state court:
                   (see Federal Notice of Removal) missing exhibits titled:

        -Declaration of Kristin
        -Declaration of Matthew
        -Notice to Interested Parties

  >>Link to State Docket: Confirms Failure to File.

  Confirms Bad Faith: Defense’s attempt to conceal procedural defect through
  deceptive structuring of document, subjects Plaintiff to undue Prejudice
  before the Federal Court.


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  2 mshrake@fmglaw.com
    Kristin A. Ingulsrud, SBN 294532
  3
    kristin.ingulsrud@fmglaw.com
  4 550 S. Hope Street, Suite 2200
    Los Angeles, CA 90071
  5 T.: 213.615.7000 | F: 833.264.2083

  6 Attorneys for Defendant

  7 Horace Mann Property
    & Casualty Insurance Company
  8

  9
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 10
                                 FOR THE COUNTY OF LOS ANGELES
 11

 12   STEPHEN CHAPMAN,                                  CASE NO.: 24STCV27909
                                                        [Assigned for All Purposes to Dept 40,
 13                      Plaintiff,                      Hon. Michael Shultz]
 14          v.                                         DEFENDANT HORACE MANN
 15                                                     PROPERTY & CASUALTY INSURANCE
      HORACE MANN PROPERTY & CASUALTY                   COMPANY’S NOTICE OF FILING
      INSURANCE COMPANY,
 16                                                     NOTICE OF REMOVAL
                         Defendants,
 17
                                                        Complaint filed: October 24, 2024
 18
                                                        Trial Date:      None
 19

 20         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 21         PLEASE TAKE NOTICE that on December 6, 2024, Defendant Horace Mann Property &
 22 Casualty Insurance Company filed a Notice of Removal in the United States District Court for the

 23 Central District of California. This Notice is provided in compliance with 28 U.S.C. § 1446(d).

 24 / / /

 25 / / /

 26 / / /

 27

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                                           1
       DEFENDANT HORACE MANN PROPERTY & CASUALTY INSURANCE COMPANY’S
                     NOTICE OF FILING
                                 14 of 56 NOTICE OF REMOVAL
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  1        A true and correct file-stamped copy of the Notice of Removal is attached hereto as Exhibit

  2 A.

  3                                            Respectfully submitted,

  4 DATED: January 7, 2025                     FREEMAN MATHIS & GARY, LLP

  5

  6                                            Marc Shrake
                                               Kristin A. Ingulsrud
  7
                                               Attorneys for Defendant
  8                                            Horace Mann Property
                                               & Casualty Insurance Company
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      DEFENDANT HORACE MANN PROPERTY & CASUALTY INSURANCE COMPANY’S
                    NOTICE OF FILING
                                15 of 56 NOTICE OF REMOVAL
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                     EXHIBIT A

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   1 FREEMAN MATHIS & GARY, LLP

   2
     Marc Shrake, SBN 219331
     mshrake@fmglaw.com
   3 Kristin A. Ingulsrud, SBN 294532

   4 kristin.ingulsrud@fmglaw.com
     550 South Hope Street, Suite 2200
   5 Los Angeles, California 90071

   6 T: 213.615.7000 | F: 833.264.2083

   7 Attorneys for Defendant Horace Mann Property

   8 and Casualty Insurance Company

   9                           UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
       STEPHEN CHAPMAN,                        Case No. 2:24-cv-10546
  12                                           District Judge:
  13                      Plaintiff,           NOTICE OF REMOVAL OF ACTION
                                               UNDER 28 U.S.C. § 1441
  14        v.
                                               [Filed concurrently with Declaration of
  15 HORACE MANN PROPERTY &                    Kristin Ingulsrud; Declaration of Matthew
     CASUALTY INSURANCE                        Rubin; Civil Cover Sheet; Notice of
  16 COMPANY,
                                               Interested Parties]
  17                                           State Complaint Filed: October 24, 2024
                          Defendant.           Removal Filed:        December 6, 2024
  18

  19

  20 TO THE HONORABLE COURT, PARTIES, AND COUNSEL OF RECORD:

  21        Defendant Horace Mann Property and Casualty Insurance Company (“Horace
  22 Mann”) hereby removes this action from the Superior Court of the State of

  23 California, County of Los Angeles, where it is currently pending as Stephen

  24 Chapman v. Horace Mann Property & Casualty Insurance Company, Case No.

  25 24STCV27909 (“State Action”), to the United States District Court for the Central

  26 District of California.

  27        Removal is warranted under 28 U.S.C. §1441(b) because the Court has subject
  28 matter jurisdiction under 28 U.S.C. §1332 over the State Action. Under 28 U.S.C.


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                                                    1
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   1 §1332(c)(l), full diversity exists among the parties, as evidenced by the states where

   2 Horace Mann is incorporated and maintains its principal place of business (Illinois)

   3 and where Plaintiff Stephen Chapman resides (California). The amount in controversy

   4 exceeds the sum of $75,000.

   5         This Notice of Removal is timely because it is filed within thirty days after
   6 service of a copy of the Summons and Complaint of the State Action upon Horace

   7 Mann, which occurred on November 8, 2024.

   8         Under 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders in the
   9 State Action received by Horace Mann are attached to the Declaration of Kristin

  10 Ingulsrud as Exhibit A.

  11         Pursuant to 28 U.S.C. § 1446(d), a Notice to State Court of Removal of Action
  12 to Federal Court, together with this Notice of Removal, will be served upon Chapman

  13 on December 6, 2024, and will be filed in the State Action.

  14                                      BACKGROUND
  15         On October 24, 2024, Plaintiff Chapman commenced the State Action. On
  16 November 14, 2024, he filed a First Amended Complaint. listing purported causes of

  17 action titled (1) Breach of Contract, (2) Bad Faith Denial of Insurance Benefits, (3)

  18 Fraud and Intentional Misrepresentation, (4) Negligent Misrepresentation, (4)

  19 Negligent Misrepresentation, (5) Breach of Fiduciary Duty, (6) Malfeasance, (7)

  20 Oppressive Conduct, (8) Violation of California Insurance Code § 662, (9) Violation

  21 of California Business & Professions Code§ 17200, (10) Intentional Infliction of

  22 Emotional Distress (IIED), and (11) Negligent Infliction of Emotional Distress

  23 (NIED).

  24                              GROUNDS FOR REMOVAL
  25         This Court has subject matter jurisdiction over the State Action under 28 U.S.C.
  26 §1332, which confers upon the “district courts . . . original jurisdiction of all civil

  27 actions where the matter in controversy exceeds the sum or value of $75,000, exclusive

  28 of interest and costs, and is between . . . citizens of different States[.]”


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                                                       2
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   1                            AMOUNT IN CONTROVERSY
   2         The allegations and claims in the First Amended Complaint seek recovery for
   3 alleged losses after Horace Mann, because of Plaintiff’s non-payment of premium,

   4 canceled an automobile policy with bodily injury liability limits of $100,000 per

   5 person/$300,000 per accident, property damage liability limit of $100,000 per

   6 accident, medical payments limit of $5,000 per insured, UM/UIM bodily injury limits

   7 of $100,000 per person/$300,000 per accident, collision coverage, other-than-collision

   8 coverage, and other coverages. In addition to benefits from the non-existent policy,

   9 the First Amended Complaint seeks compensatory damages and lost wages caused by

  10 the absence of insurance, emotional distress damages, punitive damages, and

  11 attorney’s fees and costs. It therefore appears that Plaintiff will be seeking an amount

  12 in excess of $75,000.001, although Horace Mann’s position is that Plaintiff is entitled

  13 to nothing because Horace Mann acted lawfully and properly, including meeting the

  14 notice requirements. See Ingulsrud Decl., Exh. A; Declaration of Matthew Rubin,

  15 Exh. 1.

  16                            DIVERSITY OF CITIZENSHIP
  17         Plaintiff is an individual residing in the County of Los Angeles, State of
  18 California. See Ingulsrud Decl., Exh. A, First Amended Complaint.

  19         Defendant Horace Mann is a corporation organized and existing under the laws
  20 of the state of Illinois, with its principal place of business in Springfield, Illinois.

  21 Horace Mann is, and was at the commencement of the State Action, a resident and

  22 citizen of the state of Illinois and of the United States. See Ingulsrud Dec., Exh. A,

  23 First Amended Complaint.

  24 //

  25

  26

  27

  28   1
        Horace Mann reserves all rights, including without limitation its right to contest the
       quantum of damages sought by Chapman.
                                           19 of 56
                                                      3
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   1        Accordingly, there is complete diversity of citizenship, this Court has
   2 jurisdiction over this action, and the State Action is properly removed under 28 U.S.C.

   3 § 1441.

   4        WHEREFORE, Horace Mann files this Notice of Removal so that the State
   5 Action shall be removed to this Court for all further proceedings.

   6 Dated: December 6, 2024                  FREEMAN MATHIS & GARY, LLP
   7

   8                                          By:       /s/ Kristin Ingulsrud
   9                                                    Marc J. Shrake
                                                        Kristin A. Ingulsrud
  10                                                    Attorneys for Defendant Horace Mann
                                                        Property and Casualty Insurance
  11                                                    Company
  12

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                      1                            CERTIFICATE OF SERVICE
                      2        I hereby certify that on the 6th day of December, 2024, I served the foregoing
                      3 document described as NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.

                      4 1441 via email and U.S. Mail, on the interested parties in this action as follows:

                      5

                      6
                           STEPHEN CHAPMAN, IN PRO PER
                      7    7917 Selma Avenue 336
                           Los Angeles, CA 90046
                      8    T: 619.550.7543
                           stefinchapman@outlook.com
                      9

                     10

                     11        I declare under penalty of perjury under the laws of the United States of America

                     12 that the foregoing is true and correct and that I am employed in the office of a member

                     13 of the bar of this Court under whose direction the service was made.

                     14
                               Executed on December 6, 2024, at Houston, TX.
                     15

                     16
                                                                  /s/ Connie Spears
                     17

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Freeman Mathis
  & Gary, LLP
Attorneys at Law     28


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                      1                                        PROOF OF SERVICE
                                           Stephen Chapman v. Horace Mann Property, et al. | Case No. 24STCV27909
                      2
                               I am over 18 years of age and not a party to this action. I am employed in Los Angeles,
                      3 California. My business address is 550 S. Hope Street, Suite 2200, Los Angeles, California 90071,

                      4 my email: connie.spears@fmglaw.com.

                      5 On January 7, 2025, I served a copy of the document(s) entitled: DEFENDANT HORACE
                        MANN PROPERTY & CASUALTY INSURANCE COMPANY’S NOTICE OF FILING
                      6 NOTICE OF REMOVAL in the manner described below:

                      7
                           STEPHEN CHAPMAN, IN PRO PER
                      8    7917 Selma Avenue 336
                           Los Angeles, CA 90046
                      9    T: 619.550.7543
                           stefinchapman@outlook.com
                     10

                     11

                     12         (BY MAIL) I deposited such envelope(s) in the mail at Los Angeles, California. The
                                envelope was mailed with postage thereon fully prepaid. I am “readily familiar” with the
                     13         firm’s practice of collection and processing correspondence for mailing. Under that
                                practice it would be deposited with U.S. postal service on that same day with postage
                     14         thereon fully prepaid at Los Angeles, California in the ordinary course of business. I am
                                aware that on motion of the party served, service is presumed invalid if postal cancellation
                     15
                                date or postage meter date is more than one day after date of deposit for mailing in affidavit.
                     16         (BY OVERNIGHT DELIVERY) I placed said documents in envelope(s) for collection
                                following ordinary business practices, at the business offices of FREEMAN MATHIS &
                     17         GARY, LLP and addressed as shown on the attached service list, for collection and delivery
                                by FEDEX to receive said documents, with delivery fees provided for. I am readily
                     18         familiar with the practices of FREEMAN MATHIS & GARY, LLP for collection and
                                processing of documents for overnight delivery and said envelope(s) will be deposited for
                     19
                                receipt by FEDEX on said date in the ordinary course of business.
                     20         (BY PERSONAL SERVICE) I caused such envelope(s) to be delivered by hand to the
                                offices of the addressee(s).
                     21         (BY-E-MAIL) I caused a copy of the document(s) to be sent from e-mail address
                                connie.spears@fmglaw.com to the person(s) at the email address(es) listed in the attached
                     22         Service List. I did not receive, within a reasonable time after the transmission, any
                     23         electronic message or other indication that the transmission was unsuccessful.
                                (STATE) I declare under penalty of perjury under the laws of the State of California that
                     24         the above is true and correct.

                     25         Executed on January 7, 2025, at Houston, Texas.
                     26

                     27                                                       Connie Spears
Freeman Mathis
  & Gary, LLP
Attorneys at Law     28

                                                                    PROOF OF SERVICE
                                                                  22 of 56
Case 2:24-cv-10546-MWF-BFM        Document 42 Filed 01/30/25         Page 24 of 57 Page ID
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    EXHIBIT C.2 Document: Evidence of procedural misconduct by Defendant.
    Includes: Relevant communications, discrepancies in removal filings, and proof of bad
                                faith litigation strategies.




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Case 2:24-cv-10546-MWF-BFM   Document 42 Filed 01/30/25   Page 25 of 57 Page ID
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                     EXHIBIT A

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   1 FREEMAN MATHIS & GARY, LLP

   2
     Marc Shrake, SBN 219331
     mshrake@fmglaw.com
   3 Kristin A. Ingulsrud, SBN 294532

   4 kristin.ingulsrud@fmglaw.com
     550 South Hope Street, Suite 2200
   5 Los Angeles, California 90071

   6 T: 213.615.7000 | F: 833.264.2083

   7 Attorneys for Defendant Horace Mann Property

   8 and Casualty Insurance Company

   9                           UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
       STEPHEN CHAPMAN,                        Case No. 2:24-cv-10546
  12                                           District Judge:
  13                      Plaintiff,           NOTICE OF REMOVAL OF ACTION
                                               UNDER 28 U.S.C. § 1441
  14        v.
                                               [Filed
                                               [      concurrentlyy with Declaration off
  15 HORACE MANN PROPERTY &                    Kristin Ingulsrud; Declaration
                                                                  Deecla
                                                                    ecclaration
                                                                       l        off Matthew
                                                                                        h
     CASUALTY INSURANCE                        Rubin; Civil Cover Sheet; Notice of
  16 COMPANY,
                                               Interested Parties]
  17                                           State Complaint Filed: October 24, 2024
                          Defendant.           Removal Filed:        December 6, 2024
  18

  19

  20 TO THE HONORABLE COURT, PARTIES, AND COUNSEL OF RECORD:

  21        Defendant Horace Mann Property and Casualty Insurance Company (“Horace
  22 Mann”) hereby removes this action from the Superior Court of the State of

  23 California, County of Los Angeles, where it is currently pending as Stephen

  24 Chapman v. Horace Mann Property & Casualty Insurance Company, Case No.

  25 24STCV27909 (“State Action”), to the United States District Court for the Central

  26 District of California.

  27        Removal is warranted under 28 U.S.C. §1441(b) because the Court has subject
  28 matter jurisdiction under 28 U.S.C. §1332 over the State Action. Under 28 U.S.C.


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   1 §1332(c)(l), full diversity exists among the parties, as evidenced by the states where

   2 Horace Mann is incorporated and maintains its principal place of business (Illinois)

   3 and where Plaintiff Stephen Chapman resides (California). The amount in controversy

   4 exceeds the sum of $75,000.

   5        This Notice of Removal is timely because it is filed within thirty days after
   6 service of a copy of the Summons and Complaint of the State Action upon Horace

   7 Mann, which occurred on November 8, 2024.

   8        Under 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders in the
   9 State Action received by Horace Mann are attached to the Declaration of Kristin

  10 Ingulsrud as Exhibit A.

  11        Pursuant to 28 U.S.C. § 1446(d), a Notice to State Court of Removal of Action
  12 to Federal Court, together with this Notice of Removal, will be served upon Chapman

  13 on December 6, 2024, and will be filed in the State Action.

  14                                      BACKGROUND
  15        On October 24, 2024, Plaintiff Chapman commenced the State Action. On
  16 November 14, 2024, he filed a First Amended Complaint. listing purported causes of

  17 action titled (1) Breach of Contract, (2) Bad Faith Denial of Insurance Benefits, (3)

  18 Fraud and Intentional Misrepresentation, (4) Negligent Misrepresentation, (4)

  19 Negligent Misrepresentation, (5) Breach of Fiduciary Duty, (6) Malfeasance, (7)

  20 Oppressive Conduct, (8) Violation of California Insurance Code § 662, (9) Violation

  21 of California Business & Professions Code§ 17200, (10) Intentional Infliction of

  22 Emotional Distress (IIED), and (11) Negligent Infliction of Emotional Distress

  23 (NIED).

  24                              GROUNDS FOR REMOVAL
  25        This Court has subject matter jurisdiction over the State Action under 28 U.S.C.
  26 §1332, which confers upon the “district courts . . . original jurisdiction of all civil

  27 actions where the matter in controversy exceeds the sum or value of $75,000, exclusive

  28 of interest and costs, and is between . . . citizens of different States[.]”


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   1                            AMOUNT IN CONTROVERSY
   2         The allegations and claims in the First Amended Complaint seek recovery for
   3 alleged losses after Horace Mann, because of Plaintiff’s non-payment of premium,

   4 canceled an automobile policy with bodily injury liability limits of $100,000 per

   5 person/$300,000 per accident, property damage liability limit of $100,000 per

   6 accident, medical payments limit of $5,000 per insured, UM/UIM bodily injury limits

   7 of $100,000 per person/$300,000 per accident, collision coverage, other-than-collision

   8 coverage, and other coverages. In addition to benefits from the non-existent policy,

   9 the First Amended Complaint seeks compensatory damages and lost wages caused by

  10 the absence of insurance, emotional distress damages, punitive damages, and

  11 attorney’s fees and costs. It therefore appears that Plaintiff will be seeking an amount

  12 in excess of $75,000.001, although Horace Mann’s position is that Plaintiff is entitled

  13 to nothing because Horace Mann acted lawfully and properly, including meeting the

  14 notice requirements. See Ingulsrud Decl., Exh. A; Declaration of Matthew Rubin,

  15 Exh. 1.

  16                            DIVERSITY OF CITIZENSHIP
  17         Plaintiff is an individual residing in the County of Los Angeles, State of
  18 California. See Ingulsrud Decl., Exh. A, First Amended Complaint.

  19         Defendant Horace Mann is a corporation organized and existing under the laws
  20 of the state of Illinois, with its principal place of business in Springfield, Illinois.

  21 Horace Mann is, and was at the commencement of the State Action, a resident and

  22 citizen of the state of Illinois and of the United States. See Ingulsrud Dec., Exh. A,

  23 First Amended Complaint.

  24 //

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        Horace Mann reserves all rights, including without limitation its right to contest the
       quantum of damages sought by Chapman.
                                           27 of 56
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   1        Accordingly, there is complete diversity of citizenship, this Court has
   2 jurisdiction over this action, and the State Action is properly removed under 28 U.S.C.

   3 § 1441.

   4        WHEREFORE, Horace Mann files this Notice of Removal so that the State
   5 Action shall be removed to this Court for all further proceedings.

   6 Dated: December 6, 2024                  FREEMAN MATHIS & GARY, LLP
   7

   8                                          By:       /s/ Kristin Ingulsrud
   9                                                    Marc J. Shrake
                                                        Kristin A. Ingulsrud
  10                                                    Attorneys for Defendant Horace Mann
                                                        Property and Casualty Insurance
  11                                                    Company
  12

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                      1                            CERTIFICATE OF SERVICE
                      2        I hereby certify that on the 6th day of December, 2024, I served the foregoing
                      3 document described as NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.

                      4 1441 via email and U.S. Mail, on the interested parties in this action as follows:

                      5

                      6
                           STEPHEN CHAPMAN, IN PRO PER
                      7    7917 Selma Avenue 336
                           Los Angeles, CA 90046
                      8    T: 619.550.7543
                           stefinchapman@outlook.com
                      9

                     10

                     11        I declare under penalty of perjury under the laws of the United States of America

                     12 that the foregoing is true and correct and that I am employed in the office of a member

                     13 of the bar of this Court under whose direction the service was made.

                     14
                               Executed on December 6, 2024, at Houston, TX.
                     15

                     16
                                                                  /s/ Connie Spears
                     17

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Freeman Mathis
  & Gary, LLP
Attorneys at Law     28


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                   Case 2:24-cv-10546-MWF-BFM           Document 42 Filed 01/30/25             Page 31 of 57 Page ID
                     2:24-CV-10546-MWF-BFM                    #:1165                                       01.30.2025



                      1                                        PROOF OF SERVICE
                                           Stephen Chapman v. Horace Mann Property, et al. | Case No. 24STCV27909
                      2
                               I am over 18 years of age and not a party to this action. I am employed in Los Angeles,
                      3 California. My business address is 550 S. Hope Street, Suite 2200, Los Angeles, California 90071,

                      4 my email: connie.spears@fmglaw.com.

                      5 On January 7, 2025, I served a copy of the document(s) entitled: DEFENDANT HORACE
                        MANN PROPERTY & CASUALTY INSURANCE COMPANY’S NOTICE OF FILING
                      6 NOTICE OF REMOVAL in the manner described below:

                      7
                           STEPHEN CHAPMAN, IN PRO PER
                      8    7917 Selma Avenue 336
                           Los Angeles, CA 90046
                      9    T: 619.550.7543
                           stefinchapman@outlook.com
                     10

                     11

                     12         (BY MAIL) I deposited such envelope(s) in the mail at Los Angeles, California. The
                                envelope was mailed with postage thereon fully prepaid. I am “readily familiar” with the
                     13         firm’s practice of collection and processing correspondence for mailing. Under that
                                practice it would be deposited with U.S. postal service on that same day with postage
                     14         thereon fully prepaid at Los Angeles, California in the ordinary course of business. I am
                                aware that on motion of the party served, service is presumed invalid if postal cancellation
                     15
                                date or postage meter date is more than one day after date of deposit for mailing in affidavit.
                     16         (BY OVERNIGHT DELIVERY) I placed said documents in envelope(s) for collection
                                following ordinary business practices, at the business offices of FREEMAN MATHIS &
                     17         GARY, LLP and addressed as shown on the attached service list, for collection and delivery
                                by FEDEX to receive said documents, with delivery fees provided for. I am readily
                     18         familiar with the practices of FREEMAN MATHIS & GARY, LLP for collection and
                                processing of documents for overnight delivery and said envelope(s) will be deposited for
                     19
                                receipt by FEDEX on said date in the ordinary course of business.
                     20         (BY PERSONAL SERVICE) I caused such envelope(s) to be delivered by hand to the
                                offices of the addressee(s).
                     21         (BY-E-MAIL) I caused a copy of the document(s) to be sent from e-mail address
                                connie.spears@fmglaw.com to the person(s) at the email address(es) listed in the attached
                     22         Service List. I did not receive, within a reasonable time after the transmission, any
                     23         electronic message or other indication that the transmission was unsuccessful.
                                (STATE) I declare under penalty of perjury under the laws of the State of California that
                     24         the above is true and correct.

                     25         Executed on January 7, 2025, at Houston, Texas.
                     26

                     27                                                       Connie Spears
Freeman Mathis
  & Gary, LLP
Attorneys at Law     28

                                                                    PROOF OF SERVICE
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  2:24-CV-10546-MWF-BFM               #:1166                               01.30.2025




         EXHIBIT D
                Document: Proofs of Service for SAC and related motions.
                     Dates: January 6, 2025, and January 14, 2025.




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      3ODLQWLII,Q3UR3HU
                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                FOR THE COUNTY OF LOS ANGELES


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      STEPHEN R. CHAPMAN,                             &DVH1R67&9
                                                       -XGJH+RQRUDEOH0LFKDHO6KXOW]
                 Plaintiff,                          'HSDUWPHQW
     v.
                                                  DECLARATION OF STEPHEN
       HORACE MANN PROPERTY &                       CHAPMAN, IN SUPPORT OF
     CASUALTY INSURANCE COMPANY, et               RECOGNITION OF SECOND AMENDED
       al., Defendants (inclusive of DOES 1 through COMPLAINT

       50, inclusive, and each of them).
                                                  DATED: 12/31/2024

                 Defendants.


                           DECLARATION OF STEPHEN CHAPMAN




             I, Stephen Chapman, declare as follows:
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                 ,DPWKH3ODLQWLIILQWKHDERYHFDSWLRQHGPDWWHUDQGPDNHWKLVGHFODUDWLRQWR
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                           DECLARATION OF STEPHEN CHAPMAN  
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                     LWVDFFHSWDQFH
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                                                                                     AT    12/31/2024

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                                                                Stephen Chapman Plaintiff, In Pro Per
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                             DECLARATION OF STEPHEN CHAPMAN  
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                   EXHIBIT A
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                                               9                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                              10                                   FOR THE COUNTY OF LOS ANGELES
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                                              15      v.                                             
                                              16                                                     
                                                                                                             SECOND AMENDED COMPLAINT
                                              17      +25$&(0$113523(57<                                FOR BREACH OF CONTRACT,
                                                                                                             BAD FAITH DENIAL OF
                                              18      &$68$/7<,1685$1&(&203$1<                          INSURANCE BENEFITS, FRAUD,
                                              19      Dnd RAYMOND PRUITT                                    AND RELARED CAUSES OF
                                                                                                      
                                                                                                              ACTION
                                              20      'HIHQGDQWV                                    
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                                              24     SECOND AMENDED COMPLAINT FOR BREACH OF CONTRACT, BAD FAITH DENIAL OF
                                              25     INSURANCE            BENEFITS,     FRAUD,      MALFEASANCE.            OPPRESSIVE       CONDUCT,
                                              26     NEGLIGENCE, VIOLATION OF CALIFORNIA INSURANCE CODE, AND RELATED
                                              27     CAUSES OF ACTION



                                                                                                          1
                                                               Complaint for Breach of Contract, Bad    Faith, Fraud, and Related Causes of Action
                                                                                                 35 of 56
     Case 2:24-cv-10546-MWF-BFM
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28     COME NOW, 3ODLQWLII 6WHSKHQ &KDSPDQ DQG KHUHE\ ILOHV WKLV 6HFRQG $PHQGHG &RPSODLQW DJDLQVW
29     'HIHQGDQWV+RUDFH0DQQ3URSHUW\ &DVXDOW\,QVXUDQFH&RPSDQ\DQG5D\PRQG3UXLWWDQGDOOHJHVDV
30     IROORZV
31                                                INTRODUCTION
32     3ODLQWLII6WHSKHQ&KDSPDQILOHVWKLV6HFRQG$PHQGHG&RPSODLQWDJDLQVW'HIHQGDQWV+RUDFH0DQQ
33     3URSHUW\ &DVXDOW\,QVXUDQFH&RPSDQ\DQG5D\PRQG3UXLWWIRUGDPDJHVUHVXOWLQJIURPZURQJIXO
34     SROLF\FDQFHOODWLRQPLVPDQDJHPHQWRISD\PHQWVDQGIDLOXUHWRKRQRUREOLJDWLRQVXQGHU&DOLIRUQLDODZ
35                                                     PARTIES
36     PlaintiffStephen ChapmanLVDQLQGLYLGXDOUHVLGLQJLQ/RV$QJHOHV&RXQW\&DOLIRUQLD
37     DefendantHorace Mann Property & Casualty Insurance Company LVDFRUSRUDWLRQRUJDQL]HGXQGHU
38     WKHODZVRI,OOLQRLVDXWKRUL]HGWRFRQGXFWEXVLQHVVLQ&DOLIRUQLDDQGHQJDJHGLQLVVXLQJSROLFLHVWR
39     &DOLIRUQLDUHVLGHQWV
40     DefendantRaymond PruittLVDOLFHQVHGLQVXUDQFHDJHQWLQ&DOLIRUQLDZKRGLUHFWO\PDQDJHG3ODLQWLII V
41     SROLF\LQFOXGLQJSD\PHQWVDQGFRPPXQLFDWLRQVDQGZKRVHDFWLRQVFRQWULEXWHGWRWKHZURQJIXO
42     FDQFHOODWLRQRI3ODLQWLII¶VSROLF\
43                                            JURISDICTION AND VENUE
44     Jurisdiction is properXQGHUArticle VI, Section 10 of the California ConstitutionDVWKHDPRXQWLQ
45     FRQWURYHUV\H[FHHGVWKHMXULVGLFWLRQDOWKUHVKROGRIWKH6XSHULRU&RXUW
46     Venue is properXQGHUCalifornia Code of Civil Procedure § 395(a)EHFDXVH'HIHQGDQWVFRQGXFW
47     VXEVWDQWLDOEXVLQHVVLQ/RV$QJHOHV&RXQW\ZKHUHWKHDFWLRQVJLYLQJULVHWRWKLVFRPSODLQWRFFXUUHG
48     LQFOXGLQJ'HIHQGDQW¶VFRPPXQLFDWLRQDQGDFWLRQVUHJDUGLQJ3ODLQWLII¶VSROLF\
49     $GGLWLRQDOO\'HIHQGDQW5D\PRQG3UXLWWLVDCalifornia Registered Licensed Insurance AgentZKR¶V
50     PDLQRIILFHLVORFDWHGDW1,1',$1+,//'CLAREMONT, CA
51     $OWKRXJK+RUDFH0DQQ3URSHUW\ &DVXDOW\,QVXUDQFH&RPSDQ\LVKHDGTXDUWHUHGLQ,OOLQRLVFRQGXFWV
52     EXVLQHVVLQCalifornia under its NAIC number 22756DQGLWVVLWXVIRUSXUSRVHVRIWKLVSROLF\DQG
53     GLVSXWHLV&DOLIRUQLD
54                                            FACTUAL ALLEGATIONS



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               'HFODUDWLRQRI6$&6$&2SHUDWLYH3OHDGLQJ)LOHG
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55     3ODLQWLIISXUFKDVHGDQDXWRLQVXUDQFHSROLF\ ,QLWLDO3ROLF\1XPEHUKHUHWRIRUH
56      RQ-DQXDU\IDFLOLWDWHGDQGPDQDJHGE\'HIHQGDQW3UXLWW7KHSUHPLXPIRU
57     WKHLQLWLDOsix-month term was $1,246.88 after the AAA membership discountZKLFKUHIOHFWVWKH
58     "free coverage period" from January 10, 2022, to January 24, 2022JUDQWHGE\$JHQW5D\PRQG
59     3UXLWWRQ
60     3ODLQWLIIPDGHWKHIROORZLQJSUHPLXPSD\PHQWV
61            o   January 6, 2022 +RUDFH0DQQSURFHVVHGSD\PHQWRQ 
62     6XEVHTXHQWSD\PHQWVZHUHPDGHYLDWKHEasy PayV\VWHP
63            o   March 16, 2022
64            o   April 18, 2022
65            o   May 17, 2022
66            o   June 16, 2022 UHVXOWLQJLQDcredit balance of $411.26 
67        x   2QRUDURXQG-DQXDU\'HIHQGDQWLQIRUPHG3ODLQWLIIWKDWGXHWRLQWHUQDOV\VWHPHUURUVD
68            UHSODFHPHQWSROLF\DFFRXQW1XPEHUZDVLVVXHGZLWKWKHVDPHWHUPV
69            FRQGLWLRQVDQGFRYHUDJHDVWKHLQLWLDOSROLF\EDFNGDWHGWR-DQXDU\
70        x   Defendant Raymond PruitWFRPPXQLFDWHGYLDHPDLOWKDWWKHUHZRXOGEHno cost for coverage
71            from January 10, 2022, to January 24, 2022GXHWRWKHinternal system error7KHLQLWLDO
72            SD\PHQWPDGHE\3ODLQWLIIRQ-DQXDU\LQWKHDPRXQWRIZDVSURFHVVHGRQ
73            -DQXDU\
74        x   'HVSLWHWKHtimely payments and the credit balance'HIHQGDQWFDQFHOHG3ODLQWLII VSROLF\RQ
75            $XJXVWFLWLQJQRQSD\PHQWIRU-XO\ DSSUR[LPDWHO\GXH (YLGHQFHLQGLFDWHV
76            WKDWWKH$411.26 creditZDVQRWDSSOLHGWRWKH-XO\LQVWDOOPHQWZKLFKZRXOGKDYHmaintained
77            the policy in force with a positive forward balance credit of approx. $141.26.
78        x   $GGLWLRQDOO\falselypurported SD\PHQWUHFRUGVLQWURGXFHGDVHYLGHQFHE\'HIHQGDQWLQFOXGH
79            incorrect account numbersXQUHODWHGWR3ODLQWLII VDFFRXQWLQTXHVWLRQ
80        x   Bank of America confirmed that no payments were declinedGXULQJWKHUHOHYDQWSHULRG
81        x   'HIHQGDQWDVVXUHG3ODLQWLIIPXOWLSOHWLPHVWKDWWKHSROLF\ZDVDFWLYHDQGWKDWDQ\GLVFUHSDQFLHV
82            UHJDUGLQJSD\PHQWSURFHVVLQJSROLF\H[HFXWLRQDQGLQWHUQDOHUURUVZHUHEHLQJDGGUHVVHG

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                'HFODUDWLRQRI6$&6$&2SHUDWLYH3OHDGLQJ)LOHG
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 83            +RZHYHUWKHpolicy was canceled due to internal system errors and procedural
 84            mismanagement
 85        x   3ODLQWLIIZDVXQDEOHWRPHHWHPSOR\PHQWUHTXLUHPHQWVZKLFKYHULILHVDQGPDQGDWHVFRQVLVWHQW
 86            YHKLFOHRZQHUVKLSDQGDYDOLGDXWRLQVXUDQFHSROLF\RIVSHFLILHGFRYHUDJHV$VDUHVXOWRIWKH
 87            GHIHQGDQWVLQDFWLRQVDFWLRQVWKH3ODLQWLIIZDVXQDEOHWRFRPSO\ZLWKLQGXVWU\VWDQGDUGVDQG,56
 88            UHTXLUHPHQWVGLUHFWO\LPSDFWLQJKLVDELOLW\WRPDLQWDLQJDLQIXOHPSOR\PHQWDQGORVVZDJHV
 89        x   2Q-XO\SHUFRQGLWLRQVRIHPSOR\PHQW3ODLQWLIIUHTXHVWHGDFRS\RIWKHSROLF\
 90            GHFODUDWLRQIRUWKHXSFRPLQJSROLF\UHQHZDOVFKHGXOHGIRU-XO\On July 11, 2022,
 91            Defendant, Raymond Pruitt, provided the policy declarations for both the auto and renters
 92            policies, along with the auto insurance cards for the renewal period. 'HVSLWHWKHFODLPRI
 93            QRQSD\PHQWWKDWDOOHJHGO\RFFXUUHGRQ
 94        x   2QNovember 21, 2022, Plaintiff filed a claim following an auto accident'HIHQGDQW
 95            VXEPLWWHGWKHFODLP$8ZKLOHPDNLQJQRHIIRUWWRUHVROYHWKHPDWWHUWKHFODLP
 96            UHPDLQHGDFWLYHIRUVHYHUDOPRQWKVDOWKRXJKVXEVHTXHQWO\GHQLHGWKHFODLPFLWLQJWKH
 97            >LPSURSHU@FDQFHOODWLRQRIWKHSROLF\
 98        x   Defendant did not comply with California Insurance Code § 662ZKLFKUHTXLUHVSURSHU
 99            QRWLFHRIFDQFHOODWLRQDQGDQRSSRUWXQLW\IRU3ODLQWLIIWRFXUHDQ\DOOHJHGGHILFLHQFLHVLQ
100            SD\PHQW
101        x   'HIHQGDQWDOVRpresented transaction recordsZLWKUHGDFWHGDFFRXQWQXPEHUVZKLFKZHUHODWHU
102            IRXQGWREHinconsistent with Plaintiff’s account
103        x   $recorded conversationZLWKD+RUDFH0DQQDJHQWLQGLFDWHGWKDWWKHUHZHUHprocedural
104            errors,DQGWKHagent acknowledged payments madeWKDWIXUWKHUUHYLHZZDVUHTXLUHGDQG
105            VXJJHVWHGWKDWWKHcancellation may have been improper
106     $VDUHVXOWRI'HIHQGDQW VDFWLRQV3ODLQWLIILQFXUUHGILQDQFLDOORVVHVLQFOXGLQJPHGLFDOH[SHQVHVORVW
107     ZDJHVDQGRWKHUUHODWHGGDPDJHV
108                                              CAUSES OF ACTION
109                               FIRST CAUSE OF ACTION: Breach of Contract
110     3ODLQWLIIUHDOOHJHVDQGLQFRUSRUDWHVE\UHIHUHQFHDOOSULRUSDUDJUDSKVDVWKRXJKIXOO\VHWIRUWKKHUHLQ

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                'HFODUDWLRQRI6$&6$&2SHUDWLYH3OHDGLQJ)LOHG
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111         x   'HIHQGDQWVEUHDFKHGWKHLQVXUDQFHFRQWUDFWE\IDLOLQJWRSURSHUO\SURFHVVSD\PHQWVPLVDSSO\LQJ
112             FUHGLWVDQGZURQJIXOO\FDQFHOLQJ3ODLQWLII VSROLF\GHVSLWHKLVFRPSOLDQFHZLWKSD\PHQW
113             REOLJDWLRQV
114         x   :URQJIXOO\FDQFHOLQJ3ODLQWLII¶VSROLF\GHVSLWHWLPHO\SD\PHQWVSURRIRISD\PHQWVDQGVHYHUDO
115             DWWHPSWVWRUHVROYHWKLVPDWWHULQJRRGIDLWK
116         x   )DLOLQJWRSURSHUO\QRWLI\3ODLQWLIIRIWKHFDQFHOODWLRQDVUHTXLUHGXQGHUCalifornia Insurance
117             Code § 662
118         x   )DLOLQJWRKRQRU3ODLQWLII¶Vlegitimate insurance claimIROORZLQJDQDFFLGHQWLQ1RYHPEHU
119             
120     $VDUHVXOWRI'HIHQGDQW¶VEUHDFK3ODLQWLIIVXIIHUHGGDPDJHVLQFOXGLQJORVWZDJHVPHGLFDOH[SHQVHV
121     SROLF\EHQHILWV'HOD\HGWUHDWPHQWDQGTXDOLW\RIFDUHIRULQMXULHVVXVWDLQHGOLIHORQJSDLQDQGVXIIHULQJ
122     DVZHOODVHPRWLRQDOGLVWUHVV
123                      SECOND CAUSE OF ACTION: Bad Faith Denial of Insurance Benefits
124     3ODLQWLIIUHDOOHJHVDQGLQFRUSRUDWHVE\UHIHUHQFHDOOSULRUSDUDJUDSKVDVWKRXJKIXOO\VHWIRUWKKHUHLQ
125         x   'HIHQGDQWVDFWHGLQEDGIDLWKE\LJQRULQJGRFXPHQWHGSD\PHQWVIDLOLQJWRFUHGLWRYHUSD\PHQWV
126             DQGVXEPLWWLQJHUURQHRXVUHFRUGVWRMXVWLI\ZURQJIXOSROLF\FDQFHOODWLRQ
127         x   'HIHQGDQWV¶DFWLRQVZHUHLQWHQWLRQDOPDOLFLRXVDQGRSSUHVVLYHZDUUDQWLQJWKHLPSRVLWLRQRI
128             SXQLWLYHGDPDJHV
129         x   'HIHQGDQWNQRZLQJO\DQGLQWHQWLRQDOO\YLRODWHGCalifornia Insurance Code § 1861.03
130     $VDUHVXOWRI'HIHQGDQW¶VEDGIDLWKFRQGXFW3ODLQWLIIVXIIHUHGGXHWRGHOD\HGWUHDWPHQWDQGTXDOLW\RI
131     FDUHIRULQMXULHVVXVWDLQHGFKURQLFSDLQDQGVXIIHULQJILQDQFLDOORVVHVHPRWLRQDOGLVWUHVVDQGORVW
132     EHQHILWV
133                      THIRD CAUSE OF ACTION: Fraud and Intentional Misrepresentation
134     3ODLQWLIILQFRUSRUDWHVDOOSUHFHGLQJSDUDJUDSKVDVWKRXJKIXOO\VHWIRUWKKHUHLQ
135         x   'HIHQGDQWNQRZLQJO\PDGHIDOVHUHSUHVHQWDWLRQVUHJDUGLQJ3ODLQWLII¶VSROLF\VWDWXVLQFOXGLQJ
136             IDOVLILHGWUDQVDFWLRQUHFRUGVDQGFODLPVRIGHFOLQHGSD\PHQWV
137         x   'HIHQGDQWSUHVHQWHGIUDXGXOHQWUHFRUGVDQGVWDWHPHQWVWR3ODLQWLIIDQGWKH&DOLIRUQLD'HSDUWPHQW
138             RI,QVXUDQFHWRMXVWLI\WKHZURQJIXOFDQFHOODWLRQDQGXQGHUPLQH&DOLIRUQLD6WDWH,QVXUDQFH&RGH

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                'HFODUDWLRQRI6$&6$&2SHUDWLYH3OHDGLQJ)LOHG
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139     'HIHQGDQW¶VIUDXGXOHQWFRQGXFWZDVLQWHQGHGWRGHFHLYH3ODLQWLIIDQGWKH&DOLIRUQLD'HSDUWPHQWRI
140     ,QVXUDQFHFDXVLQJ3ODLQWLIIILQDQFLDOKDUPDQGHPRWLRQDOGLVWUHVVORVVZDJHVLQWLPHDOORFDWHGWRZDUGV
141     SUHSDULQJREMHFWLRQVDLPHGDWFODLPLQJZKDWWKH3ODLQWLIILVODZIXOO\HQWLWOHGWR
142                         FOURTH CAUSE OF ACTION: Negligent Misrepresentation
143     3ODLQWLIILQFRUSRUDWHVDOOSUHFHGLQJSDUDJUDSKVDVWKRXJKIXOO\VHWIRUWKKHUHLQ
144        x   'HIHQGDQWQHJOLJHQWO\PLVUHSUHVHQWHGWKHVWDWXVRI3ODLQWLII¶VSD\PHQWVSROLF\DQGFRYHUDJH
145            WKURXJKLWVDJHQWV
146     7KHVHPLVUHSUHVHQWDWLRQVFDXVHG3ODLQWLIIILQDQFLDOORVVHVDQGHPRWLRQDOGLVWUHVV
147                            FIFTH CAUSE OF ACTION: Breach of Fiduciary Duty
148     3ODLQWLIILQFRUSRUDWHVDOOSUHFHGLQJSDUDJUDSKVDVWKRXJKIXOO\VHWIRUWKKHUHLQ
149        x   'HIHQGDQWRZHG3ODLQWLIIDILGXFLDU\GXW\WRDFWLQJRRGIDLWKDQGH[HUFLVHUHDVRQDEOHFDUHLQ
150            KDQGOLQJKLVSROLF\DQGFODLPV
151        x   'HIHQGDQWEUHDFKHGWKLVGXW\E\ZURQJIXOO\FDQFHOLQJWKHSROLF\PLVUHSUHVHQWLQJSD\PHQW
152            UHFRUGVDQGIDLOLQJWRSURSHUO\LQYHVWLJDWH3ODLQWLII¶VFODLPV
153     $VDUHVXOW3ODLQWLIIVXIIHUHGILQDQFLDOKDUPDQGHPRWLRQDOGLVWUHVV
154                                    SIXTH CAUSE OF ACTION: Malfeasance
155     3ODLQWLIILQFRUSRUDWHVDOOSUHFHGLQJSDUDJUDSKVDVWKRXJKIXOO\VHWIRUWKKHUHLQ
156        x   'HIHQGDQWHQJDJHGLQPDOIHDVDQFHLQFOXGLQJVXEPLWWLQJIUDXGXOHQWGRFXPHQWVDQG
157            PLVUHSUHVHQWLQJSD\PHQWVWDWXVWRMXVWLI\ZURQJIXOFDQFHOODWLRQ
158     7KLVFRQGXFWFDXVHG3ODLQWLIIVLJQLILFDQWILQDQFLDOORVVHVDQGHPRWLRQDOGLVWUHVV
159                            SEVENTH CAUSE OF ACTION: Oppressive Conduct
160     3ODLQWLIILQFRUSRUDWHVDOOSUHFHGLQJSDUDJUDSKVDVWKRXJKIXOO\VHWIRUWKKHUHLQ
161        x   'HIHQGDQW¶VDFWLRQVLQIDOVLI\LQJUHFRUGVPLVKDQGOLQJSD\PHQWVDQGZURQJIXOO\FDQFHOLQJ
162            3ODLQWLII VSROLF\FRQVWLWXWHRSSUHVVLYHPLVFRQGXFW
163        x   'HIHQGDQWDFWHGZLWKPDOLFLRXVLQWHQWWRGHQ\3ODLQWLIIKLVULJKWIXOEHQHILWV
164                EIGHTH CAUSE OF ACTION: Violation of California Insurance Code § 662
165     3ODLQWLIIUHDOOHJHVDQGLQFRUSRUDWHVE\UHIHUHQFHDOOSULRUSDUDJUDSKVDVWKRXJKIXOO\VHWIRUWKKHUHLQ



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                'HFODUDWLRQRI6$&6$&2SHUDWLYH3OHDGLQJ)LOHG
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166        x   'HIHQGDQWVIDLOHGWRFRPSO\ZLWKCalifornia Insurance Code § 662E\LVVXLQJDGHIHFWLYH
167            FDQFHOODWLRQQRWLFHDQGIDLOLQJWRSURYLGH3ODLQWLIIZLWKDUHDVRQDEOHRSSRUWXQLW\WRFXUHWKH
168            DOOHJHGGHIDXOW
169        x   'HIHQGDQWYLRODWHGCalifornia Insurance Code § 662E\IDLOLQJWRVHQGFRUUHFWDQGSURSHU
170            QRWLFHRIFDQFHOODWLRQWR3ODLQWLII¶VFRUUHFWDGGUHVV
171     7KLVYLRODWLRQUHVXOWHGLQILQDQFLDOKDUPDQGHPRWLRQDOGLVWUHVVWR3ODLQWLII
172        NINTH CAUSE OF ACTION: Violation of California Business & Professions Code § 17200
173     3ODLQWLIILQFRUSRUDWHVDOOSUHFHGLQJSDUDJUDSKVDVWKRXJKIXOO\VHWIRUWKKHUHLQ
174        x   'HIHQGDQWHQJDJHGLQXQMXVWUHMHFWLRQIUDXGXOHQWDQGXQIDLUEXVLQHVVSUDFWLFHVYLRODWLQJ
175            California Business & Professions Code § 17200
176     3ODLQWLIILVHQWLWOHGWRGDPDJHVIRU'HIHQGDQW¶VXQIDLUDQGGHFHSWLYHFRQGXFW
177              TENTH CAUSE OF ACTION: Intentional Infliction of Emotional Distress (IIED)
178     3ODLQWLIILQFRUSRUDWHVDOOSUHFHGLQJSDUDJUDSKVDVWKRXJKIXOO\VHWIRUWKKHUHLQ
179        x   'HIHQGDQW¶VFRQGXFWLQFOXGLQJPLVKDQGOLQJDQGPLVUHSUHVHQWLQJLQDFFXUDWHUHFRUGVDV
180            HYLGHQWLDU\VXSSRUWWR>ZURQJIXOO\@FDQFHOLQJWKHSROLF\ZDVH[WUHPHDQGRXWUDJHRXVFDXVLQJ
181            3ODLQWLIIVHYHUHHPRWLRQDOGLVWUHVV
182        x   'HIHQGDQW¶VHJUHJLRXVUHIXVDOWRDFFHSWUHVSRQVLELOLW\FRQWULEXWHGWRWKHGHWHULRUDWLRQRIDQ
183            DOUHDG\DJJUDYDWHGLQMXU\VXVWDLQHGGXULQJWKHVXEMHFWDFFLGHQWFODLP
184     $VDUHVXOWWKH3ODLQWLIIHQGXUHGGHELOLWDWLQJSDLQDQGVXIIHULQJZKLFKUHTXLUHVRQJRLQJ05,H[DPV
185     WUHDWPHQWWKHUDS\DQGSUHVFULSWLRQPHGLFDWLRQV
186            ELEVENTH CAUSE OF ACTION: Negligent Infliction of Emotional Distress (NIED)
187     3ODLQWLIILQFRUSRUDWHVDOOSUHFHGLQJSDUDJUDSKVDVWKRXJKIXOO\VHWIRUWKKHUHLQ
188     'HIHQGDQW¶VQHJOLJHQWKDQGOLQJRI3ODLQWLII¶VSD\PHQWVDQGSROLF\FDXVHGIRUHVHHDEOHHPRWLRQDOGLVWUHVV
189                                              PRAYER FOR RELIEF
190     WHEREFORE,3ODLQWLIISUD\VIRUMXGJPHQWDJDLQVW'HIHQGDQWDVIROORZV
191         )RUcompensatoryGDPDJHVLQDQDPRXQWWREHGHWHUPLQHGDWWULDOLQFOXGLQJPHGLFDOH[SHQVHV
192            ORVWZDJHVDQGSROLF\EHQHILWV
193         )RUpunitiveGDPDJHVIRU'HIHQGDQW¶VIUDXGXOHQWPDOLFLRXVDQGRSSUHVVLYHFRQGXFW

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                Complaint for Breach of Contract, Bad    Faith, Fraud, and Related Causes of Action
                                                  41 of 56
      Case 2:24-cv-10546-MWF-BFM
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                                    Document 42 Filed 01/30/25 Page 43 of 57 Page ID
                'HFODUDWLRQRI6$&6$&2SHUDWLYH3OHDGLQJ)LOHG
        2:24-CV-10546-MWF-BFM             #:1177                          01.30.2025




194          )RUconsequentialGDPDJHVLQFOXGLQJHPRWLRQDOGLVWUHVVDQGWKHSK\VLFDOWROOFDXVHGE\WKH
195             ZURQJIXOFDQFHOODWLRQ
196          )RUbillable hour costsLQFXUUHGHTXDOWRWKDWRIDWWRUQH\¶VIHHVDQGFRVWVDVDOORZHGE\
197             California Code of Civil Procedure § 1021.5
198          )RUunpaid policy benefitsOHVVDQ\DPRXQWVH[FHHGLQJWKHDWIDXOWGULYHU VSROLF\OLPLWV
199          )RUinterestRQDOOGDPDJHVDVDOORZHGE\ODZ
200         7. )RUany other relief the Court deems just and properLQFOXGLQJEXWQRWOLPLWHGWR
201             UHLPEXUVHPHQWIRUDGGLWLRQDOFRVWVLQFXUUHGLQDGGUHVVLQJWKHZURQJIXOFDQFHOODWLRQ
202                                                        EXHIBITS
203
204     • Exhibit A: 3D\PHQWUHFRUGVVKRZLQJWLPHO\SD\PHQWVDQGDFFRXQWGHWDLOV WREHSURYLGHGXSRQ
205     UHTXHVW 
206
207     • Exhibit B: )UDXGXOHQWRUPLVUHSUHVHQWHGWUDQVDFWLRQUHFRUGVFRQWDLQLQJFRYHUXSRILQFRUUHFWDFFRXQW
208     QXPEHUVWKDWZHUHVXEPLWWHGWRMXVWLI\WKHZURQJIXOFDQFHOODWLRQ WREHSURYLGHGXSRQUHTXHVW 
209     
210     • Exhibit C: 7UDQVFULSWLRQVRISKRQHFDOOFRQYHUVDWLRQVZLWK+RUDFH0DQQDJHQWVDFNQRZOHGJLQJ
211     LQWHUQDOHUURUVDQGUHTXLUHGFRQILUPDWLRQRIMXVWO\FDQFHOODWLRQ WREHSURYLGHGXSRQUHTXHVW 
212     
213     • Exhibit D0HGLFDODQGWKHUDS\UHFRUGVDQGLPDJLQJGRFXPHQWLQJWKHSK\VLFDODQGHPRWLRQDO
214     GDPDJHVVXVWDLQHGDVDUHVXOWRIWKHZURQJIXOFDQFHOODWLRQ WREHSURYLGHGXSRQUHTXHVW 
215     
216     • Exhibit E: (PDLO&RUUHVSRQGHQFHVWKDWVXSSRUWDOOHJDWLRQVRILQYROYHPHQWDQGSRWHQWLDOOLDELOLW\PDGH
217     DJDLQVW'HIHQGDQW5D\PRQG3UXLWW
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                Complaint for Breach of Contract, Bad    Faith, Fraud, and Related Causes of Action
                                                  42 of 56
      Case 2:24-cv-10546-MWF-BFM
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                'HFODUDWLRQRI6$&6$&2SHUDWLYH3OHDGLQJ)LOHG
        2:24-CV-10546-MWF-BFM             #:1178                          01.30.2025




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246                                                                              ____________________
247                                                                                   Stephen Chapman
248                                                                                 Plaintiff, In Pro Per



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              Complaint for Breach of Contract, Bad    Faith, Fraud, and Related Causes of Action
                                                43 of 56
Case 2:24-cv-10546-MWF-BFM         Document 42 Filed 01/30/25          Page 45 of 57 Page ID
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          EXHIBIT E
                  Document: Email correspondence with opposing counsel.
  Includes: Statements dismissing the procedural validity of the SAC, despite the state court
                                         acceptance.




                                 6HH!OLQNDWWDFKHGKHUHLQ
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                                 $1'68%6(48(17(;+,%,7$




                                            44 of 56
Case 2:24-cv-10546-MWF-BFM       Document 42 Filed 01/30/25         Page 46 of 57 Page ID
  2:24-CV-10546-MWF-BFM                #:1180                                 01.30.2025




          EXHIBIT F
    Document: Defendant’s Notice of Removal filed in federal court on December 6, 2024.
                         Includes: Filing confirmation and date.




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Case 2:24-cv-10546-MWF-BFM         Document 42 Filed 01/30/25           Page 47 of 57 Page ID
  2:24-CV-10546-MWF-BFM                  #:1181                                    01.30.2025




         EXHIBIT G
  Document: Plaintiff’s Motion to Strike Notice of Removal and Remand VXEPLWWHG in state
                          FOHUNILOHGLQVWDWHFRXUWRQ

                       6FKHGXOHGIRU+HDULQJ
                              Includes: &OHUN(QGRUVHG&RS\
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     $LPHGWRUHGXFHZDVWHDQGSUHVHUYHWKHWLPHRIWKHFRXUWWKHFRPSOHWHFRS\RIWKH0RWLRQ
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     ZLWKWKHFRXUW

                                             46 of 56
 Case 2:24-cv-10546-MWF-BFM            Document 42 Filed 01/30/25          Page 48 of 57 Page ID
     2:24-CV-10546-MWF-BFM                   #:1182                                   01.30.2025




 1   Stephen Chapman
     7917 Selma Ave 336
 2
     Los Angeles CA 90046
 3   619-550-7543
     StefinChapman@outlook.com
 4
     Plaintiff, In Pro Per
 5

 6
                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7
                                 FOR THE COUNTY OF LOS ANGELES
 8
     STEPHEN CHAPMAN,                               Case No.: 24STCV27909
 9
                                                    Judge: Honorable Michael Shultz
10                  Plaintiff,                      Dept. 40
                                                    Hearing Date: March 13, 2025
11   vs.
                                                    Hearing Time: 08:30 AM
12

13   HORACE MANN PROPERTY &                        NOTICE OF MOTION AND MOTION TO
     CASUALTY INSURANCE COMPANY, et                STRIKE NOTICE OF REMOVAL,
14                                                 RECOGNIZE SECOND AMENDED
     al.,
15                                                 COMPLAINT AS OPERATIVE
                                                   PLEADING, AND REMAND TO STATE
16
                   Defendants (Inclusive Of Does 1 COURT
17   Through 50, Inclusive, And Each Of Them).
                                                   DATED: 12/30/2024
18
                                                   Res. # 302742640065
19

20                           NOTICE OF MOTION AND MOTION
21                  TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

22
           PLEASE TAKE NOTICE that on March 13, 2024, at 8:30 AM, or as soon thereafter as
23

24   the matter may be heard in Department 40 of the Stanley Mosk Courthouse, located at 111 N.

25   Hill Street, Los Angeles, CA 90012, Plaintiff Stephen Chapman will, and hereby does, move
26
     the Court for an order:
27

28




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     2:24-CV-10546-MWF-BFM                     #:1183                                      01.30.2025




 1       1. Striking the Notice of Removal filed by Defendant Horace Mann Property & Casualty

 2          Insurance Company pursuant to 28 U.S.C. § 1447(c);
 3
         2. Recognizing the Second Amended Complaint (SAC) as the operative pleading, with
 4
            the filing date retroactively applied to December 10, 2024, the date it was submitted
 5
            and accepted by the State Superior Court before removal;
 6

 7       3. Remanding this case to the Superior Court of California, County of Los Angeles, on

 8          the following grounds:
 9
                x   Destruction of complete diversity: Defendant Raymond Pruitt, the agent of
10
                    record, is a California-licensed insurance agent and a resident of California; and
11
                x   Procedural defects in the notice of removal: The defense failed to file the
12

13                  notice of removal with the state court, as required by 28 U.S.C. § 1446(d).

14       4. Staying federal proceedings pending resolution of this motion.
15

16   This motion is based on:

17
        x   This Notice of Motion and Motion,
18

19      x   The attached Memorandum of Points and Authorities,

20      x   Exhibits submitted in support of the motion
21
        x   7KH$FFHSWHG6HFRQG$PHQGHG&RPSODLQW
22
        x   7KH'HFODUDWLRQRI3ODLQWLII6WHSKHQ&KDSPDQand
23
        x   Any further evidence and argument presented at or before the hearing.
24
                                               Dated: 12/30/2024
25                                             Respectfully submitted,

26                                                STEPHEN CHAPMAN
                                                  Plaintiff, In Pro Per
27

28



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                                            48 of 56
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       Case 2:24-cv-10546-MWF-BFM                   Document 42 Filed 01/30/25       Page 50 of 57 Page ID
            2:24-CV-10546-MWF-BFM                         #:1184                               01.30.2025
             Journal Technologies Court Portal


 Court Reservation Receipt
  Reservation
  Reservation ID:
                                                              Status:
  302742640065
  Reservation Type:
                                                              RESERVED
  Motion for Order (Striking Defendant's Notice of
  Removal, Grant Leave to Amend Complaint, and Remand
  Case to State Court)                                Number of Motions:
                                                      1
                                                              Case Title:
  Case Number:                                                STEPHEN CHAPMAN vs HORACE MANN PROPERTY &
  24STCV27909                                                 CASUALTY INSURANCE COMPANY

  Filing Party:                                               Location:
  Stephen Chapman (Plaintiff)                                 Stanley Mosk Courthouse - Department 40
  Date/Time:                                                  Conrmation Code:


   March 13th 2025, 8:30AM                                    CR-T4VNHHZNFZCVYLTHW

  Fees

                                                                                                1
   Motion for Order (name extension) *** Fees Exempted by Fee Waiver ***              0.00                   0.00
   TOTAL



  Payment
  Amount:
                                                              Type:
  $0.00
                                                              FEE_WAIVER


       Back to Main                  Print Page




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                                                                                                        Help

                                                                                                                    Pag
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         EXHIBIT H
      Document: Plaintiff’s Ex Parte Application to the federal court for judicial notice.
  To be Stricken from Record per Jurisdiction and the Enclosed Memorandum of Points and
                                     Authorities Herein




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                                                  #:1187




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           EXHIBIT I
                 Document: Communication from the State Court Clerk.
           Includes: Explicit confirmation of the SAC as the operative pleading.




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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Stanley Mosk Courthouse
Mailing Address: 111 North Hill Street
City, State and Zip Code: Los Angeles CA 90012



SHORT TITLE: STEPHEN CHAPMAN vs HORACE MANN PROPERTY & CASUALTY                   CASE NUMBER:
INSURANCE COMPANY                                                                 24STCV27909

         NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: Journal Technologies Inc.
Reference Number: EF-fc9bdeb46ddb
Submission Number: 25LA00113170
Court Received Date: 01/19/2025
Court Received Time: 1:28 pm
Case Number: 24STCV27909
Case Title: STEPHEN CHAPMAN vs HORACE MANN PROPERTY & CASUALTY INSURANCE COMPANY
Location: Stanley Mosk Courthouse
Case Type: Civil Unlimited
Case Category: Insurance Coverage (not complex)
Jurisdictional Amount: Over $35,000
Notice Generated Date: 01/24/2025
Notice Generated Time: 7:58 am

Documents Electronically Filed/Received                       Status




Summons                                                 Rejected
                                                        Reject Reason(s):
                                                        Other: summons- does not match the complaint (operative pleading
                                                        is 2nd amended complaint)




                                     NOTICE OF CONFIRMATION OF FILING
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Supplemental Declaration (name extension)              Rejected
                                                       Reject Reason(s):
                                                       Other: declaration- duplicate document, already in our system, if
                                                       this is an exhibit it requires a new caption/face page




Comments
Submitter's Comments: Requests Summons for Amended Complaint to serve Defendant Raymond Pruitt. Clean
SAC copy included; attachments show SAC as operative (filed Declaration, 'accepted' SAC). Aimed to ensure
compliance, avoid delay, and address stay ahead of 03-13-2025 motion.

Clerk's Comments:

Electronic Filing Service Provider Information
Service Provider: Journal Technologies Inc.
Contact: Journal Technologies Inc.
Phone: (877) 545-1842 Ext. 1




                                    NOTICE OF CONFIRMATION OF FILING
                                                  55 of 56
Case 2:24-cv-10546-MWF-BFM   Document 42 Filed 01/30/25   Page 57 of 57 Page ID
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